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                                              October 4, 2023

The Honorable Kent A. Jordan                                               VIA ELECTRONIC FILING
United States Court of Appeals
  for the Third Circuit
5100 Federal Building
844 N. King Street, Unit 10
Wilmington, DE 19801-3566

                    Re:     Abbott Diabetes Care Inc., et al. v. DexCom, Inc.,
                            C.A. No. 21-977 (KAJ)

Dear Judge Jordan:

                    The parties jointly submit the attached proposed juror questionnaire for the Court’s
consideration.

                                                  Respectfully,

                                                  /s/ Anthony D. Raucci
                                                  Anthony D. Raucci (#5948)

Enclosure

cc:       All Counsel of Record (via electronic mail)
